Case 5:24-cv-00440-OLG-HJB                Document 5     Filed 07/01/24      Page 1 of 14




                        IN THE UNITED STATES DISTRICT COURT                             JUL     12024
                         FOR TILE WESTERN DISTRICT OF TEXAS                       CLE<
                                SAN ANTONIO DiVISION                              WRNT,  U S.
                                                                                       DS!CY COU



MARK ANTHONY ORTEGA                                    Case No. 5:24-cv-OO44O-OLGHJB

                             Plaintiff,

               V.



DANThL GILBERT FIELDS and ERIC DOE,


                             Defendants.


            PLAiNTIFF'S MOTION FOR ALTERNATIVE SERVICE OF PROCESS

Plaintiff Mark Anthony Ortega ("Ortega") files this Motion for Alternative Service of Process,

asking the Court for an order authorizing alternative service of process upon Defendant Daniel

Gilbert Fields ("Fields").



                Ortega brought this action for violations of the Telephone Consumer Protection Act,

47 U.S.C. § 227, et seq. ("TCPA"), and the Texas Business and Commercial Code, Chapter 302

("Tex. Bus. & Corn. Code") arising out of Defendants Daniel Gilbert Fields and Eric Doe practices

of initiating unwanted and unsolicited telernarketing calls.

       2.       Despite Plaintiff's diligent efforts, traditional service of process upon Defendant

Fields has proven unsuccessful due to his evasive conduct.

        3.      Therefore, Plaintiff requests this Court to authorize alternative service through one

or more of the following methods: (1) delivery to a person of suitable age and discretion residing
 Case 5:24-cv-00440-OLG-HJB             Document 5        Filed 07/01/24      Page 2 of 14




at Defendant's residence; (2) affixation to the door of Defendant's residence; and (3) email to an

address known to be actively utilized by Defendant.

                                  FACTUAL BACKGROUND

       4.      On or about March 14, 2024, Plaintiff received an unsolicited telemarketing call

from Defendant Fields in violation of the TCPA and Texas Business & Commercial Code.

       5.       In an attempt to resolve this matter informally, on March 14, 2024, Plaintiff,

through his attorney at the time, sent a demand letter to Defendant Fields at the email address

dan@franconsultantgroup.com.

       6.      On March 15, 2024, Plaintiff received a response to the demand letter from

Defendant Fields, confirming he received the demand letter and uses the email address

dan@franconsultantgroup.com.

       7.      Plaintiff filed his original complaint in this matter on April 22, 2024.

       8.      On or around June 6, 2024, Plaintiff retained a private process server to personally

serve Defendant Fields at his residence.

       9.        Exhibit A attached hereto as Exhibit B and incorporated herein by reference for

all purposes, includes results from searches conducted through CBC, Accurint, and 110, all of

which confirm that 1263 White Sands Dr, San Marcos, CA 92078 is a valid address for Defendant

Fields and is associated with his most recent driver's license.

        10.     Beginning on or around June 14, 2024, a private process server attempted to

personally serve Defendant Fields at his last known residence on four separate occasions: June 14,

2024, June 18, 2024, June 20, 2024, and June 22, 2024. These attempts are documented in the

attached Proof of Service ("Proof of Service"), attached hereto as Exhibit B and incorporated

herein by reference for all purposes.
 Case 5:24-cv-00440-OLG-HJB             Document 5        Filed 07/01/24      Page 3 of 14




        11.    On June 22, 2024, the process server left a voicemail message for Defendant Fields

at a phone number ending in 0109, which features Defendant's voice on the answering machine

message. Later that day, an individual identifying himself as Defendant Fields returned the call

but refused to cooperate with service, stating "will not be available to accept any delivery." (Proof

of Service).

        12.    Despite these attempts, Defendant Fields has successfully evaded service of

process.

                              ARGUMENT AND AUTHORITIES

        13.    Federal Rule of Civil Procedure 4(e)( 1) permits service of process in accordance

with the law of the state where the court is located or where service is made. Texas Rule of Civil

Procedure 106(b) authorizes alternative service when service through the methods prescribed by

Rule 106(a) has been attempted but unsuccessful. See Tex. R. Civ. P. 106(a), (b).

        14. Here, Plaintiff has satisfied the requirements for alternative service. The Proof of

Service details Plaintiff's unsuccessful attempts to serve Defendant Fields through traditional

means. Defendant's evasive conduct, as demonstrated by his refusal to accept service and his

statement that he "will not be available to accept any delivery," further supports Plaintiff's

request for alternative service. (Proof of Service).

        15. Moreover, Plaintiff proposes alternative service methods reasonably calculated to

provide Defendant Fields with actual notice of this lawsuit:

           a. Delivery to a Person of Suitable Age and Discretion Residing at Defendant's

Residence: This method is permitted by Federal Rule of Civil Procedure 4(e)(2)(B) and ensures

delivery to an individual likely to bring the lawsuit to Defendant's attention.
 Case 5:24-cv-00440-OLG-HJB             Document 5       Filed 07/01/24      Page 4 of 14




          b. Affixation to the Door of Defendant's Residence: This method provides an

additional layer of notice when delivery to a person at the residence is unsuccessful.

          c. Email to dan@franconsultantgroup.com: This method is warranted by

Defendant's demonstrated use of this email address to communicate regarding this case.

                                         CONCLUSION

       16. For the foregoing reasons, Plaintiff respectfully requests that the Court grant this

Motion for Alternative Service of Process and authorize service upon Defendant Daniel Gilbert

Fields through one or more of the following methods:

          a. Delivery of a copy of the Summons, Complaint, and this Order to a person of

suitable age and discretion residing at 1263 White Sands Dr, San Marcos, CA 92078.

          b. Affixation of a copy of the Summons, Complaint, and this Order to the front door at

1263 White Sands Dr, San Marcos, CA 92078.

          c. Email to danfranconsultantgroup.com.




Dated: June 25, 2024                                  Respectfully submitted,

                                                      Mark Anthony Ortega
                                                      Plaintiff, ro Se


                                                      By:}
                                                      mortgautexas.edu"
                                                      P0 Box 702099
                                                      San Antonio, TX 78270
                                                      Telephone: (210) 744-9663
 Case 5:24-cv-00440-OLG-HJB             Document 5       Filed 07/01/24      Page 5 of 14




                                CERTIFICATE OF SERVICE

I hereby certify that on June 25, 2024, a true and correct copy of the foregoing Plaintiffs Motion

for Alternative Service of Process was served upon Defendant Daniel Gilbert Fields via Certified

Mail, Return Receipt Requested, postage prepaid, to the following address:


Daniel Gilbert Fields
1263 White Sands Dr
San Marcos, CA 92078



                                                     Mark Anthony Ortega
Case 5:24-cv-00440-OLG-HJB   Document 5    Filed 07/01/24   Page 6 of 14




                               EXHIBIT A
        Case 5:24-cv-00440-OLG-HJB            Document 5      Filed 07/01/24        Page 7 of 14

                                                 Exhibits
Defendant:   Daniel Gilbert Fields
Address:     1263 White Sands Dr, San Marcos, San Diego County, CA 92078


CBC Innovis Search Results
                                                                            Business    First         Last
  Address                                                                   Indicator   Reported      Reported
  1263 White Sands Dr, San Marcos, CA 92078                                             01 /04/2004
  16629 CIMARRON CREST DR, SAN DIEGO, CA 92127                                          02/19/2003
  1979 HIGHWAY 42, CHERRY VALLEY, AR 72324                                              10/17/2001
  193 COUNTY ROAD 219, CHERRY VALLEY, AR 72324                                  x       07/30/2000
  721 TEALWOOD LN, CORDOVA, TN 38018                                                    12/30/1 998

Accurint Search Results
                                                                            Business    First         Last
  Address                                                                   Indicator   Reported      Reported
  7480 MIRAMAR RD STE 202, SAN DIEGO, CA 92126-4220                             x       03/01/2007    03/01/2007
  1263 White Sands Dr, San Marcos, CA 92078                                             12/01/2003    03/01/2024
  16629 CIMARRON DR, SAN DIEGO, CA 92128 (Verification Level: Street                    03/01/2003    03/01/2003
  Partial)
  16629 CIMARRON CREST DR, SAN DIEGO, CA 92127                                          01/01/2003    12/01/2003
  1979 HIGHWAY 42, CHERRY VALLEY, AR 72324                                              02/0112001    03/01/2003
  193 COUNTY ROAD 205, CHERRY VALLEY, AR 72324-8637                                     11/01/2000    11/01/2000
  P0 BOX 306044, HENDERSON, NV 89077 (Verification Level: Street Partial)               08/01/2000    08/01/2000
  193 219 CIR, CHERRY VALLEY, AR 72324 (Verification Level: None)                       07/01/2000    07/01/2000
  193 COUNTY ROAD 219, CHERRY VALLEY, AR 72324                                  x       06/01/2000    11/01/2002
  4465 POPLAR AVE STE 260, MEMPHIS, TN 38117-3760                               x       12/01/1998    02/01/2003
  721 TEALWOOD LN, CORDOVA, TN 38018                                                    06/01/1998    03/01/2015
  1979 HIGHWAY, CHERRY VALLEY, AR 72324-8632 (Verification Level:
  None)
  193 COUNTY RD, CHERRY VALLEY, AR 72324 (Verification Level: None)




                                               Page 1 of 2
        Case 5:24-cv-00440-OLG-HJB           Document 5       Filed 07/01/24       Page 8 of 14

                                                 Exhibits

TLO Search Results
                                                                            Business    First           Last
  Address                                                                   Indicator   Reported        Reported
  543 ENCINITAS BLVD, ENCINITAS, CA 92024 (Verification Level: Premises        x        08/23/2004      08/23/2004
  Partial)
  5443 W 119TH ST, INGLEW000, CA 90304                                                  08/13/2004      08/13/2004
  1263 White Sands Dr, San Marcos, CA 92078                                             12/01/2003      06/06/2024
  193 COUNTY ROAD 219, CHERRY VALLEY, AR 72324                                 x        09/26/2001      01/23/2003
  16629 CIMARRON CREST DR, SAN DIEGO, CA 92127                                          03/0 1 /200 1   03/20/2004
  P0 BOX 306044, HENDERSON, NV 89077 (Verification Level: Street Partial)               08/01/2000      11/17/2003
  1979 HIGHWAY 42, CHERRY VALLEY, AR 72324                                              06/16/2000      04/13/2003
  35 HIGHLAND RD APT 1403, BETHEL PARK, PA 15102                                        10/01/1 999     11/10/2003
  721 TEALWOOD LN, CORDOVA, TN 38018                                                    05/01/1998      01/23/2013
  250 ARBOR COMMONS CIR, MEMPHIS, TN 38120 (Verification Level:                         09/09/1997      09/09/1997
  Premises Partial)
  225 HIGHWAY 1 B, CHERRY VALLEY, AR 72324                                              05/30/1997      05/30/1997
  11523 OLDE TIVERTON CIR APT 306, RESTON, VA 20194                                     04/01/1996      04/01/1996
  3001 PARK CENTER DR APT 920, ALEXANDRIA, VA 22302                                     10/01/1995      01/16/1997
  441 ASBURY CMNS APT A, ATLANTA, GA 30338                                              03/01/1995      01/23/2003
  HIGHLAND TERRACE APTS, 3350 ALTAMONT RD S, BIRMINGHAM, AL                             11/01/1994      04/0111996
  35205 (Verification Level: Premises Partial)
  6855 CLUB RIDGE CIR APT 120, MEMPHIS, TN 38115                                        10/01/1994      10/01/1994
  318 SPRINGS AyE, BIRMINGHAM, AL 35242                                                 06/01/1994      01/23/2003
  250 ARBOR COMMONS CIR APT 307, MEMPHIS, TN 38120                                      06/01/1988      10/01/1997
  1816 HIGHPOINT BLVD, MOBILE, AL 36618 (Verification Level: Street
  Partial)
  103 PACES BROOK AVE #317, COLUMBIA, SC 29212 (Verification Level:            x
  Premises Partial)

Drivers Licenses (TLO)
  DL#: (redacted), DL State: CA, Reported: 01/27/201 4, Name: DANIEL G FIELDS, Address: 1263 WHITE SANDS
  DR, SAN MARCOS, CA 92078, DOB: (redacted)
  DL#: (redacted), DL State: TN, Reported: 04/18/2000, Name: DANIEL G FIELDS, Address: 1979 HIGHWAY 42,
  CHERRY VALLEY, AR 72324, DOB: (redacted)

Vehicles (TLO)
  None reported.

Forwards reported per National Change of Address (NCOA) service
  None reported.

Property Ownership (TLO)
  Address: 1263 White Sands Dr, San Marcos, CA 92078-5489, Owner(s): DANIEL FIELDS, WHITNEY FIELDS,
  Purchase Date: 11/2003
  Address: 5443 WI 19th St, Inglewood, CA 90304-1025, Owner(s): WILLIAM CHICA, A CHICA INGRID, Purchase
  Date: 04/2018




                                               Page 2 of 2
Case 5:24-cv-00440-OLG-HJB   Document 5    Filed 07/01/24   Page 9 of 14




                               EXHIBIT B
            Case 5:24-cv-00440-OLG-HJB                         Document 5          Filed 07/01/24        Page 10 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                 5:24-CV-00440-OLG-HJB

                                                              PROOF OF SERVICE
                          (This section should not be filed with the court unless required by Fed. R. Civ. P.4 (1.1)


    This summons for Daniel Gilbert Fields
 was recieved by me on 6/1112024:


        IJ           I   personally served the summons on the Individual at (place) on (date) ; or



                 left the summons at the individual's residence or usual place of abode with (name) , a person of suitable age and
                 I

                discretion who resides there, on , and mailed a copy to the individual's last known address; or



                 I       served the summons on (name of individual) who is designated by law to accept service of process on behalf of (name
                                                                     ,




                 of organization); or


                     I   returned the summons unexecuted because; or

                 Other (specify)
        ID


        My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.


        I   declare under penalty of perjury that this information is true.



Date:   06/23/2024



                                                                                                        Svers signature


                                                                                                     Maria De La To
                                                                                                       Pinted name end title


                                                                                 3652 Park Blvd
                                                                                 5
                                                                                 San Diego, CA 92103

                                                                                                         Sever's address




        Additional information regarding attempted service, etc:

        611 4/2024 9:01 AM: There was no answer at the address.   Few days in driveway.
        6/18/2024 9:24 AM: There was no answer at the address.
        6/2012024 9:12 AM: There was no answer at the address.
        6/2212024 2:26 PM: There was no answer at the address.
        6/22/2024 2:36 PM: I placed a phone call to number ending in 7128 resulting in number disconnected.
        6/22/2024 2:37 PM: I placed a phone call to number ending in 0109 resulting in leaving voice mail. He is ID on
        machine.
        6/22/20242:49 PM: I received a phone call from number ending in 0109 resulting in address confirmed. I spoke with
        Daniel Gilbert Fields. The individual appeared to be a male contact. Refused to cooperate said he will not be available
                                                                                                                         T ackin

                                                                                                          1111111 HIll   ii   1011   I1i'il1iitflhIlilIll IlO hi
         Case 5:24-cv-00440-OLG-HJB                 Document 5    Filed 07/01/24   Page 11 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 3)

Civil Action No.      5:24-C V-00440-OLG-HJB

       to accept any delivery. I can mail or leave at the door.




                                                                                        Trackin #: 0135983 78


                                                                                   1111111111   I 111111        IR 1011
Case 5:24-cv-00440-OLG-HJB                Document 5     Filed 07/01/24     Page 12 of 14




                        iN THE UNiTED STATES DISTRICT COURT
                         FOR Tll1 WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION



MARK ANTHONY ORTEGA                                    Case No. 5:24-cv-00440-OLG-HJB

                             Plaintiff,



DANIEL GILBERT FIELDS and ERIC DOE,


                             Defendants.


  [PROPOSED] ORDER ON PLAINTIFF'S MOTION FOR ALTERNATIVE SERVICE

        CAME ON TO BE CONSIDERED Mark Anthony Ortega's Motion For Alternative

Service and after considering said motion, as well as the supporting Exhibits, the court finds

Plaintiffs attempts to serve Daniel Gilbert Fields ("Defendant") have been unsuccessful and find

the Substitute Service requested in Plaintiffs motion will be reasonably effective to give Defendant

notice of the suit.

        Therefore, the Court GRANTS the motion and authorizes Alternative Service on Daniel

Gilbert Fields by any one of the following method(s):

        a.   By Delivering a true copy of the Summons, Cover Sheet and Complaint and Order

             authorizing substituted service attached, with anyone more than sixteen (16) years of

             age at 1263 White Sands Dr, San Marcos, CA 92078, QL.

        b. By Attaching a true copy of the Summons, Cover Sheet and Complaint and Order

             authorizing substitute service, securely to the front door at 1263 White Sands Dr, San

             Marcos, CA 92078, Q&
Case 5:24-cv-00440-OLG-HJB            Document 5       Filed 07/01/24      Page 13 of 14




       c.   Email to dan@ franconsultantgroup.com

       Each of the authorized above described methods is reasonably effective to give

Defendant notice of the suit and such service shall be deemed effective as of the date of

compliance by Plaintiff


Signed on                                 20




                                                            JUDGE PRESIDING
                                       - -                             -
                                                                                                     *
                                                                                                         -----
Page 14 of 14
Filed 07/01/24
Document 5




                                                     LiörZ$L   )(J   'D.!IjO
                             èIB
Case 5:24-cv-00440-OLG-HJB




                                                                               ..i.cI
                                                                                        iI1,Ii''Pi
                                   .
                                             ----.
                                                                                                            )QL 'AJV4/   k5
                                                                                                            JQ           25t
